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                                                                IN THE UNITED STATES DISTRICT COURT
For the Northern District of California




                                          11
    United States District Court




                                                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                          13
                                               GEOFFREY PECOVER and JEFFREY               No    C 08-2820 VRW
                                          14   LAWRENCE, on Behalf of Themselves
                                               and All Others Similarly                         ORDER
                                          15   Situated,

                                          16             Plaintiffs,

                                          17             v

                                          18   ELECTRONICS ARTS INC, a Delaware
                                               Corporation
                                          19
                                                         Defendant.
                                          20
                                                                                   /
                                          21
                                          22             Plaintiff Geoffrey Pecover purchased an interactive video

                                          23   game software product entitled Madden NFL from a Best Buy store in

                                          24   Washington, D C; plaintiff Jeffrey Lawrence purchased a licensed

                                          25   copy of Madden NFL from a store in California.        Together plaintiffs

                                          26   now seek to represent a class and prosecute an action on behalf of

                                          27   all Madden NFL purchasers in the United States.          Electronic Arts,

                                          28   Inc (EA) produces Madden NFL.
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                                           1              Plaintiffs allege that EA foreclosed competition in a

                                           2   market for interactive football software by acquiring, in separate

                                           3   agreements, exclusive rights to publish video games using the

                                           4   trademarks and other intellectual property of “the only viable

                                           5   sports football associations and leagues in the United States.”         Doc

                                           6   #1 at 4.   Plaintiffs allege six causes of action relating to this

                                           7   conduct: (1) violation of section 2 of the Sherman Act, 15 USC § 2;

                                           8   (2) violation of California’s Cartwright Act, Cal Bus & Prof Code §

                                           9   16700 et seq; (3) violation of California’s Unfair Competition Act,

                                          10   Cal Bus & Prof Code § 17200 et seq; (4) unjust enrichment; and, in
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                                          11   the event that the court does not apply California law on a
    United States District Court




                                          12   nationwide basis, (5) violation of various other state antitrust and

                                          13   restraint of trade laws; and (6) violation of various state consumer

                                          14   protection and unfair competition laws.

                                          15              EA moves to dismiss the complaint under FRCP 12(b)(6) on a

                                          16   variety of grounds.    EA first attacks the section 2 claim as barred

                                          17   by the indirect purchaser doctrine set forth in Illinois Brick Co v

                                          18   Illinois, 431 US 720(1977).     Second, EA argues that the conduct

                                          19   alleged in the complaint —— obtaining multiple exclusive licenses ——

                                          20   cannot violate antitrust laws as a matter of law because such a rule

                                          21   would deny licensors the benefit of bidding competition.          Third, EA

                                          22   alleges that plaintiff’s Cartwright Act claim fails because the

                                          23   relationships between the NFL, NCAA and the AFL and EA —— licensors

                                          24   and their exclusive licensee —— renders them incapable of conspiring

                                          25   to violate the antitrust laws.      Finally, EA argues that plaintiffs

                                          26   do not have standing to bring state antitrust and unfair competition

                                          27   claims under the law of the eighteen states in which neither named

                                          28   plaintiff resides.

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                                           1               For the reasons stated herein, the motion to dismiss is

                                           2   GRANTED IN PART and DENIED IN PART.       The court DENIES EA’s motion to

                                           3   dismiss plaintiffs’ Sherman Act section 2 claim, Cartwright Act

                                           4   claim and other claims under California and District of Columbia

                                           5   law.   The court GRANTS EA’s motion to dismiss claims five and six as

                                           6   they relate to states other than California and the District of

                                           7   Columbia.

                                           8
                                           9                                         I

                                          10               A motion to dismiss under FRCP 12(b)(6) for failure to
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                                          11   state a claim upon which relief can be granted “tests the legal
    United States District Court




                                          12   sufficiency of a claim.”     Navarro v Block, 250 F3d 729, 732 (9th Cir

                                          13   2001).   Because FRCP 12(b)(6) focuses on the sufficiency of a claim

                                          14   —— and not the claim’s substantive merits —— “[o]rdinarily[] a court

                                          15   may look only at the face of the complaint to decide a motion to

                                          16   dismiss.”   Van Buskirk v Cable News Network, Inc, 284 F3d 977, 980

                                          17   (9th Cir 2002).

                                          18               A motion to dismiss should be granted if plaintiff fails

                                          19   to proffer “enough facts to state a claim to relief that is

                                          20   plausible on its face.”     Bell Atlantic Corp v Twombly, 550 US 544,

                                          21   127 S Ct 1955, 1966 (2007).     Dismissal can be based on the lack of a

                                          22   cognizable legal theory or the absence of sufficient facts alleged

                                          23   under a cognizable legal theory.      Balistreri v Pacifica Police

                                          24   Dep’t, 901 F2d 696, 699 (9th Cir 1990).       Allegations of material

                                          25   fact are taken as true and construed in the light most favorable to

                                          26   the nonmoving party.    Cahill v Liberty Mutual Ins Co, 80 F3d 336,

                                          27   337–38 (9th Cir 1996).    Moreover, all inferences reasonably drawn

                                          28   from these facts must be construed in favor of the responding party.

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                                           1   General Conference Corp of Seventh-Day Adventists v Seventh-Day

                                           2   Adventist Congregational Church, 887 F2d 228, 230 (9th Cir 1989).

                                           3
                                           4                                         A

                                           5              The theories advanced by EA for dismissal of plaintiffs’

                                           6   claim under section 2 of the Sherman Act miss their mark.

                                           7              EA’s first attack —— that the Illinois Brick indirect

                                           8   purchaser doctrine bars plaintiffs’ section 2 claim —— fails because

                                           9   the Illinois Brick indirect purchaser bar only bars antitrust claims

                                          10   for damages by indirect purchasers, whereas plaintiffs’ section 2
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                                          11   claim seeks only injunctive relief.       Doc #1 ¶ 40 at 7.       In Illinois
    United States District Court




                                          12   Brick, the Supreme Court reasoned that such suits would force courts

                                          13   to allocate illegal overcharges between middlemen and the ultimate

                                          14   consumers and thus add “whole new dimensions of complexity to treble

                                          15   damages suits and seriously undermine their effectiveness.”           431 US

                                          16   at 737.   The Court further reasoned that allowing damages suits by

                                          17   indirect purchasers would open the door to duplicative recovery from

                                          18   both direct and indirect purchasers.       Id.   Apportionment challenges

                                          19   and duplicative recovery simply do not come into play in suits

                                          20   seeking injunctive relief and thus Illinois Brick does not apply.

                                          21   See United States Gypsum Co v Indiana Gas Co, 350 F3d 623, 625-28

                                          22   (7th Cir 2003) (“[T]he direct purchaser doctrine does not foreclose

                                          23   equitable relief * * * .”); Dickson v Microsoft Corp, 309 F3d 193,

                                          24   213 n 24 (4th Cir 2002) (“Illinois Brick's indirect purchaser rule,

                                          25   when applicable, bars only compensatory damages relief and does not

                                          26   apply to injunctive relief.”); In re Warfarin Sodium Antitrust

                                          27   Litig, 214 F3d 395, 399-400 (3d Cir 2000) (“Illinois Brick does not

                                          28   bar indirect purchasers’ injunction claim.”).

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                                                 Case 4:08-cv-02820-CW Document 40 Filed 06/05/09 Page 5 of 15



                                           1                Next, EA contends that plaintiffs have not adequately

                                           2   alleged that interactive video football software —— the product

                                           3   market in which plaintiffs allege Madden NFL trades —— is a

                                           4   recognizable product market for Sherman Act purposes.             The court

                                           5   disagrees.    Paragraphs 15-16 contain plaintiffs’ product market

                                           6   allegations:

                                           7
                                           8                15. As Electronic Arts well knew, consumers demand that
                                                            the teams and players in interactive football software be
                                           9                identified with actual teams and players. This is only
                                                            achievable through a license with a sports league and
                                          10                associated players associations. There is essentially no
                                                            demand and therefore no market for interactive football
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                                          11                software that is not based on real life teams and/or
    United States District Court




                                                            players. Electronic Arts recognizes this fact in its
                                          12                annual report to investors where it notes that if it were
                                                            “unable to maintain” licenses with “major sports leagues
                                          13                and players associations” its “revenue and profitability
                                                            will decline significantly.”
                                          14
                                                            16. By signing the exclusive agreement with the NFL,
                                          15                Electronic Arts immediately killed off Take Two’s NFL 2K5
                                                            software, the only competing interactive football product
                                          16                of comparable quality to its Madden NFL franchise.
                                                            Through its agreements with the NCAA and AFL, Electronic
                                          17                Arts prevented Take Two and others from re-entering the
                                                            market with non-NFL branded interactive football software.
                                          18                Once again without a competitor, Electronic Arts raised
                                                            its prices dramatically. Specifically, Electronic Arts
                                          19                raised the price of the Madden 2006 videogame (released in
                                                            August of 2005) nearly seventy percent to $49.95.
                                          20                Electronic Arts currently sells interactive football
                                                            software for up to $59.95.
                                          21
                                          22   Doc #1 at 4-5.

                                          23                As the court understands these allegations, interactive

                                          24   football software will not sell if it does not use the names, logos

                                          25   and other markers of teams that actually compete in the NFL; there

                                          26   is, in effect, no market for interactive football software in a

                                          27   virtual or fictitious setting.      If true —— as the court must at this

                                          28   point accept —— this adequately alleges that there are no

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                                                 Case 4:08-cv-02820-CW Document 40 Filed 06/05/09 Page 6 of 15



                                           1   substitutes for interactive football software without the markers of

                                           2   actual teams and players.

                                           3             Plaintiffs do not, however, allege that there are no

                                           4   substitutes for interactive football software.        One does not need to

                                           5   be a devotee of video games to recognize that any such claim would

                                           6   be implausible and possibly subject to dismissal under the

                                           7   instructions of the Supreme Court in Bell Atlantic Corp v Twombly to

                                           8   allege antitrust claims with a measure of plausibility.           The court

                                           9   qualified this statement because Twombly involved a claim that

                                          10   conduct parallel in nature violated section 2.        As parallel conduct
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                                          11   is not itself illegal, the Supreme Court held that enough plausible
    United States District Court




                                          12   facts must be alleged to take the conduct or issue out of the realm

                                          13   of legality.   Twombly, 550 US at 556.      Recently, the Supreme Court

                                          14   extended this reasoning to a case involving a somewhat analogous

                                          15   safe harbor from liability: qualified immunity.         Ashcroft v Iqbal,

                                          16   ___ US ___, 129 S Ct 1937, 1949-51 (2009).        Whether the plausibility

                                          17   requirement will be imposed in cases not involving safe harbors of

                                          18   this kind remains to be seen.      In any event, no such safe harbor

                                          19   appears in the facts before the court here and the court presumes

                                          20   that other forms of interactive video game software would substitute

                                          21   for interactive video football software.       So the question is whether

                                          22   interactive football software is sufficiently distinct or appealing

                                          23   to consumers to constitute a recognizable product market.

                                          24             In attempting to allege a distinct product market,

                                          25   plaintiffs appear to adopt the market definition approach of the

                                          26   Horizontal Merger Guidelines propounded by the United States

                                          27   Department of Justice and the Federal Trade Commission in 1997.          The

                                          28   Guidelines define a market by asking whether a potential monopolist

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                                           1   could profitably impose a “small but significant and nontransitory

                                           2   increase” in price.    Horizontal Merger Guidelines § 1.11.         A

                                           3   positive response suggests very limited functional interchange-

                                           4   ability for the product in question and, for antitrust purposes, a

                                           5   distinct product market.

                                           6              Plaintiffs allege that EA’s exclusive agreement with the

                                           7   NFL “killed off” the only other allegedly competitive interactive

                                           8   software and allowed EA to raise its prices “dramatically.”             Doc #1

                                           9   at 5.   For purposes of pleading the claims at bar, these

                                          10   allegations suffice to allege a product market.
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                                          11              EA devotes much of its attention to American Needle, Inc
    United States District Court




                                          12   v National Football League, 538 F3d 736 (7th Cir 2008), which held

                                          13   that an exclusive licensing contract between the NFL and Reebok,

                                          14   which manufactures football headwear, did not constitute an

                                          15   unreasonable restraint of trade in violation of section 1.          The

                                          16   plaintiff had contended that the individual teams in the NFL were

                                          17   separate entities, so that the league’s agreement with Reebok was

                                          18   unlawful horizontal or coordinated conduct.        Id at 741.     The

                                          19   district court, granting summary judgment, had found that the NFL

                                          20   was a “single-entity” in that “the teams’ individual success is

                                          21   necessarily linked to the success of the league as a whole” and

                                          22   hence rejected plaintiff’s contention that the license represented

                                          23   coordinated action.    Id at 737.    Without definitively resolving the

                                          24   single-entity question for all purposes, the court of appeals

                                          25   focused on whether the agreement before it “deprived the market of

                                          26   independent sources of economic power” and, affirming, concluded

                                          27   that the agreement did not do so.        Id at 743-44.   The court reached

                                          28   this conclusion because it viewed the joint licensing of NFL

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                                                 Case 4:08-cv-02820-CW Document 40 Filed 06/05/09 Page 8 of 15



                                           1   intellectual property as intended to promote NFL football as
                                           2   against other forms of entertainment.       Id at 744.    The court
                                           3   opined:
                                           4               [T]he failure of American Needle’s §1 claim necessarily
                                                           dooms its §2 monopolization claim. As a single entity
                                           5               for the purpose of licensing, the NFL teams are free
                                                           under §2 to license their intellectual property on an
                                           6               exclusive basis even if the teams opt to reduce the
                                                           number of companies to whom they grant licenses.
                                           7
                                           8   Id (citations omitted).
                                           9               American Needle is inapposite here.      The defendants there
                                          10   were the licensors of intellectual property, not, as in the case at
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                                          11   bar, the licensees.    Furthermore, plaintiff’s claim in American
    United States District Court




                                          12   Needle foundered on the court’s conclusions that at least for
                                          13   purposes of promotional licensing, the NFL was a single entity.
                                          14   The single-entity rationale is, of course, persuasive in the
                                          15   context of NFL’s role as a competitor in the entertainment
                                          16   business.   An individual team can offer no entertainment value
                                          17   without the other teams in the league.       Although this single-entity
                                          18   theory is somewhat less persuasive (to the undersigned, at least)
                                          19   when it comes to licensing NFL team logos on headware (after all,
                                          20   individual teams could make their own license agreements),
                                          21   nonetheless the court of appeals viewed licensing headware as
                                          22   simply an extension of the NFL’s competition in promoting the
                                          23   entertainment it provides.     This points to the most notable
                                          24   distinction between American Needle and the present case.         The
                                          25   exclusive contract in American Needle involved only one provider of
                                          26   football entertainment: the NFL.      The present case involves what
                                          27   are alleged to be a number of such providers, if not all the major
                                          28   ones, namely the NFL, AFL and NCAA.

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                                           1               EA also draws on another line of cases which begins with
                                           2   Paddock Publications, Inc v Chicago Tribune Co, 103 F3d 42 (7th Cir
                                           3   1996) and Fleer Corporation v Topps Chewing Gum, Inc, 658 F2d 139
                                           4   (3d Cir 1981).   In Paddock, a suburban daily newspaper in the
                                           5   Chicago metropolitan area, the Daily Herald, asserted claims under
                                           6   section 1 against the two major dailies in Chicago, the Tribune and
                                           7   the Sun-Times, that they had “locked up” the most popular or best
                                           8   supplemental services or features through exclusive agreements with
                                           9   the New York Times and Los Angles Times/Washington Post news and
                                          10   features syndicates.    103 F3d at 44.     The Herald did not contend
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                                          11   that the Tribune and Sun-Times had conspired nor that the news and
    United States District Court




                                          12   features syndicates had coordinated their conduct.         Id.    The
                                          13   district court dismissed.     Judge Easterbrook recognized that the
                                          14   plaintiff’s theory was fundamentally an “essential facilities”
                                          15   claim, but noted that the complaint lacked allegations of “any
                                          16   essential facility.”    Id.   By contrast, the present complaint
                                          17   alleges that the names and logos of actual teams and players are
                                          18   essential to market interactive football software.         Doc #1 ¶ 15 at
                                          19   4-5.    Whether plaintiffs will be able to back this allegation up
                                          20   with evidence is a matter left for another day.
                                          21               The Fleer case is more factually analogous to the present
                                          22   case.   The parties, Fleer Corporation and Topps Chewing Gum,
                                          23   produced bubble gum and similar products.        Fleer, 658 F2d at 141.
                                          24   Topps had acquired exclusive licenses to the photographs and
                                          25   statistics of baseball players for use in producing baseball
                                          26   trading cards and, at the time of the case, Topps was the only
                                          27   seller of baseball trading cards sold in connection with bubble
                                          28   gum.    Fleer, 658 F2d at 141.   The district court found the relevant

                                                                                    9
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                                           1   product market to be “‘pocket-size pictures of active major league
                                           2   baseball players, sold alone or in combination with a low cost
                                           3   premium, at a price of 15 to 50 cents.’”        Id at 145.    Although the
                                           4   court of appeals assumed without deciding that this market
                                           5   definition was correct, the court noted (and perhaps was influenced
                                           6   by the fact) that baseball trading cards accompany “a variety of
                                           7   other non-confectionary products.”        Id at 142.   The court also
                                           8   pointed out that Fleer had left the baseball trading card business
                                           9   nine years before the suit was filed by selling its existing
                                          10   baseball player licenses to Topps.        Id at 150.   The court then
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                                          11   opined that because “Fleer or any other trading card manufacturer
    United States District Court




                                          12   [] may compete with Topps for minor league players or even persuade
                                          13   the present major league players not to renew their Topps’
                                          14   contracts” the accumulation of exclusive licenses in that case
                                          15   failed to restrict competition sufficiently to violate section 1.
                                          16   Id.   In other words, Fleer failed to show the “bottleneck” that an
                                          17   essential facilities claim requires.       See Paddock Publications, 103
                                          18   F3d at 44-45.
                                          19              Importantly, the Third Circuit decided Fleer on a motion
                                          20   for summary judgment rather than on a motion to dismiss.           The court
                                          21   noted that the determination whether the defendant’s conduct
                                          22   excluded all meaningful competition was a mixed question of law and
                                          23   fact.   Fleer, 658 F2d at 154.     Here, on EA’s motion to dismiss, the
                                          24   court must take as true plaintiff’s factual allegations that the
                                          25   series of exclusive deals between EA and the NFL, AFL and NCAA
                                          26   “killed off” competition and “prevented [competitors] from re-
                                          27   entering the market.”     Doc #1 ¶ 16 at 5.     These allegations
                                          28   distinguish this case from Fleer.

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                                           1              Accordingly, EA’s motion to dismiss plaintiffs’ claim for
                                           2   violation of section 2 of the Sherman Act is DENIED.
                                           3
                                           4                                         B
                                           5              EA next moves to dismiss plaintiffs’ Cartwright Act
                                           6   claim.   EA argues, consistent with its argument against the section
                                           7   2 claim, that signing multiple exclusive agreements cannot
                                           8   constitute a restraint of trade.       EA continues that if the
                                           9   exclusive agreements are not the “conspiracy” alleged in the
                                          10   complaint, then the complaint lacks the requisite factual details
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                                          11   of the alleged Cartwright Act violation.        Doc #17 at 18-19.
    United States District Court




                                          12              The Cartwright Act makes unlawful a “trust,” defined as
                                          13   “a combination of capital, skill, or acts by two or more persons”
                                          14   for the purposes of restraining commerce and preventing market
                                          15   competition in the variety of ways listed in the statute.          Cal Bus
                                          16   & Prof Code § 16720.     See also Lowell v Mother’s Cake & Cookie Co,
                                          17   79 Cal App 3d 13, 22 (1978), citing Bondi v Jewels by Edwar, Ltd,
                                          18   267 Cal App 2d 672, 678 (1968).      The Cartwright Act generally
                                          19   codifies the common law prohibition against the restraint of trade.
                                          20   Kolling v Dow Jones & Co, 137 Cal App 3d 709, 717 (1982).
                                          21              California courts have determined that vertical
                                          22   restraints of trade, such as exclusive dealing arrangements, can
                                          23   violate the Cartwright Act, though they are not illegal per se.
                                          24   See Fisherman’s Wharf Bay Cruise Corp v Superior Court, 114 Cal App
                                          25   4th 309, 334-35 (2004).     “The law conclusively presumes manifestly
                                          26   anticompetitive restraints of trade to be unreasonable and
                                          27   unlawful, and evaluates other restraints under the rule of reason.”
                                          28   Id.   Vertical restraints, including exclusive dealing arrangements,

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                                           1   are proscribed when it is probable that performance of the
                                           2   arrangements will foreclose competition in a substantial share of
                                           3   the affected line of commerce.      Id.    The rule of reason analysis
                                           4   requires a factual analysis of the line of commerce, the market
                                           5   area and the affected share of the relevant market.          See Id.   Such
                                           6   a factual inquiry is improper at this stage in the proceedings.
                                           7              As described above relating to plaintiffs’ section 2
                                           8   claim, the complaint at bar alleges that EA entered into exclusive
                                           9   agreements with multiple football leagues to “kill[] off”
                                          10   competition and “raise[] prices dramatically.”         While these
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                                          11   exclusive agreements are not per se illegal under the Cartwright
    United States District Court




                                          12   Act, they could plausibly be found to restrain trade after applying
                                          13   the rule of reason analysis.      Accordingly, the exclusive licenses
                                          14   themselves, described adequately in the complaint, constitute the
                                          15   conduct giving rise to the Cartwright Act claim.
                                          16              EA cites this court’s decision in Levi Case Co v ATS
                                          17   Products, 788 F Supp 428 (ND Cal 1992) for the proposition that
                                          18   parties to an exclusive license who are not competitors are legally
                                          19   incapable of conspiring in violation of the antitrust laws.            Doc #17
                                          20   at 19.   While Levi Case involved the federal Sherman Act, “it is
                                          21   established that the Sherman Act and Cartwright Act are to be
                                          22   interpreted in harmony with one another.”        Davis v Pacific Bell, 204
                                          23   F Supp 2d 1236, 1243 (ND Cal 2002), citing Redwood Theaters, Inc v
                                          24   Festival Enterprises, Inc, 908 F2d 477, 481 (9th Cir 1990). Levi
                                          25   Case relied on the Supreme Court’s ruling in Copperweld Corp v
                                          26   Independence Tube Corp, 467 US 752, 768 (1984) that a corporation
                                          27   and its subsidiaries were incapable of conspiring for the purposes
                                          28   of section 1.    Levi Case, 788 F Supp at 430-31.       Copperweld reasoned

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                                           1   that coordinated activity by parties who lack independent sources of
                                           2   economic power and separate interests does not warrant antitrust
                                           3   scrutiny.    Copperweld, 467 US at 771.     Levi Case applied that same
                                           4   principle to the relationship between a patent holder and the
                                           5   sublicensee to whom the patent holder had conveyed an exclusive
                                           6   license.    Levi Case, 788 F Supp at 431.      In that circumstance, the
                                           7   patent holder’s only rights relating to the patent after the
                                           8   exclusive license were to receive royalties and approve sublicenses.
                                           9   Id.   The patent holder, by virtue of the exclusive license, could
                                          10   not compete in the market covered by the patent and neither could
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                                          11   anyone else because a patent is a legally-sanctioned restraint on
    United States District Court




                                          12   trade.
                                          13               Levi Case is distinguishable from the instant complaint,
                                          14   which alleges the aggregation of multiple exclusive agreements to
                                          15   choke off competition in a way that is not legally sanctioned,
                                          16   unlike the exclusive agreement involving a single patent.          Moreover,
                                          17   the NFL, AFL and NCAA may each have exclusive agreements with EA,
                                          18   but they are competitors with each other.        A series of agreements
                                          19   between EA and each of these entities could plausibly deprive the
                                          20   marketplace of independent sources of economic power.
                                          21               Accordingly, EA’s motion to dismiss plaintiffs’ second
                                          22   cause of action for violation of the Cartwright Act is DENIED.
                                          23
                                          24                                         II
                                          25               Finally, EA moves to dismiss plaintiff’s claims for unfair
                                          26   competition and unjust enrichment under California law, violation of
                                          27   the District of Columbia Consumer Protection Procedures Act and
                                          28   violation of the antitrust and consumer protection laws of eighteen

                                                                                     13
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                                           1   states in which plaintiffs did not purchase the Madden NFL video
                                           2   game.   Doc #17 at 25-26.
                                           3              EA argues that plaintiffs’ unfair competition and unjust
                                           4   enrichment claims under California law fail because the Cartwright
                                           5   Act claim on which they are based also fails.         Because the court
                                           6   finds that the Cartwright Act survives EA’s motion to dismiss, the
                                           7   court will not dismiss plaintiffs’ other California law claims on
                                           8   that basis.   The court also denies the motion to dismiss the claim
                                           9   under the District of Columbia Consumer Protection Procedures Act.
                                          10              As for the remaining state law claims, plaintiffs have
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                                          11   effectively conceded, by failing to address the issue in their
    United States District Court




                                          12   opposition memorandum (Doc #22), that their claims under the laws of
                                          13   states in which plaintiffs did not purchase the Madden NFL video
                                          14   game should be dismissed.     The named plaintiffs in this action
                                          15   purchased the video game at issue in California and the District of
                                          16   Columbia and have alleged no basis for standing to bring claims
                                          17   under the laws of other states.      In re Graphics Processing Units
                                          18   Antitrust Litigation, 527 F Supp 2d 1011, 1026-27 (N D Cal 2007).
                                          19   Accordingly, EA’s motion to dismiss plaintiff’s fifth and sixth
                                          20   claims for violations of the laws of states other than California
                                          21   and the District of Columbia is GRANTED.
                                          22
                                          23                                        III
                                          24              In summary, EA’s motion to dismiss is GRANTED IN PART and
                                          25   DENIED IN PART.    While the court GRANTS EA’s motion to dismiss
                                          26   claims five and six as they relate to states other than California
                                          27   and the District of Columbia, the court DENIES EA’s motion to
                                          28   dismiss plaintiffs’ Sherman Act section 2 claim, Cartwright Act

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                                           1   claim and other claims under California and District of Columbia
                                           2   law.   The court will reserve judgment on choice of law issues until
                                           3   the class certification stage.
                                           4              Additionally, the court approves the following modified
                                           5   schedule for plaintiffs’ motion for class certification, as
                                           6   stipulated by the parties (Doc #39): motion filed September 24,
                                           7   2009; opposition filed November 23, 2009; reply filed December 23,
                                           8   2009; hearing January 14, 2010
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                                          10              IT IS SO ORDERED.
For the Northern District of California




                                          11
    United States District Court




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                                          13                                      VAUGHN R WALKER
                                                                                  United States District Chief Judge
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